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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                 Office of the Clerk
        United States Courthouse
                                                                                Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
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          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
February 13, 2023

                                                    Before
                                  DAVID F. HAMILTON, Circuit Judge
                                  THOMAS L. KIRSCH II, Circuit Judge
                                  CANDACE JACKSON-AKIWUMI, Circuit Judge

                                     MICHAEL OUTLEY,
                                             Plaintiff - Appellant

No. 21-2476                          v.

                                     CITY OF CHICAGO, et al.,
                                              Defendants - Appellees
Originating Case Information:
District Court No: 1:13-cv-01583
Northern District of Illinois, Eastern Division
District Judge Joan H. Lefkow


The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision of
this court entered on this date.




                                                                       Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
